 

Case 2:1O-CV-09198-.]VS-.]DE Document 1-1 Filed 10/26/10 Page 1 of 3 Page |D #:68

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§ JS 44 (Rcv. 12/07) (CANDHV l/lO)

CIVIL COVER SHEET

'l`hc JS 44 civil cover §hcet and the infomiation contained herein neither replace nor supplement the filing and service ofplcadirigs or other papcis as required by law, except as provided
ha local mlcs ol`courL This 1`0rrn, approved by the Jticlicial Conf`erer)cc ot"ihe Unitcd Siatcs in Septembcr |974, is required for the use ofthc Clerk of`Court forthe purpose ofini`tiating

civil docket shceL (SEE lNSTRUCl`lONS ON PAGE TWO OF THE FORM.)

¢:]; §§ PLAlNTlFFS
YCE WALKER KIM BRUCE HOWLETT, and
Z MURIEL SPOON 'R on behalf of themselves

DEFENDANTS

LIFE INSURANCB COMPANY OF THE SOUTHWEST, a
Texas corporation, and DOES

1-50

 

and all others S;l.milarly eituated
( ! ) (b) Counry ofResidencc ofFirstListcd Plainiit`t`

(EXCEPT lN U,S, :LAlNTlFF CPB/
/ O» 45/> Qe)

(C) Aliomcy's (Firm Name, Addrcss, and Tclephonc Numbcr)
arleS N. Freibe§§, K.ASOWITZ, BENSON, TORRES
& FRIEDMAN LLP, l Callfornia Street, Suibem

§300, San Frapcisco CA 94111
Carvey R. Levlne, LEVINE & MILLER, 550 West

. Street, Suite 1810, San Diego, CA 92101-
8596

NOTE:

Attorncys (lf Known)

Palo Alto,

 

County of Residence of Firsi Lisi.cd Dcf`endant
(IN U.S. PLAINTIFF CASES ONLY)

lN LAND CONDEMNATION CASES, USE THE LOCATlON OF THE

LAND lNVOLVED.

CA 94304

Jonathan A. Shapiro, WILMER CUTLER PICKERING
HALE AND DORR LLP, 950 Page Mill Road,
(650-858-6101)

 

". BASlS OF JUR[SD]CT'ON (P|ace an "X" in One Box Only)

 

(For Diversity Cascs Only)

lll. Cl'l`lZENSHlP OF PR_|NCIPAL PARTIES (Pia¢ran"x" in one Box rnri>ittintitr

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Judgmcni

 

_i Cit.e thc U.S. Civil Si.atutc under which you arc filing (Do not cite jurisdictional statutes unless diversity)'.

28 U.S.C. ES 133;, 1367J llilil, lilliQ, 1453_

 

VI. CAUSE OF ACTlON

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IX. DlVlSIONAL ASSIGNMENT (ClVlL L.R. 3
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Case 2:1O-CV-09198-.]VS-.]DE Document 1-1 Filed 10/26/10 Page 2 of 3 Page |D #:69

JS 44 Rcvcrse (Rcv. 12/07)
lNSTRUCTlONS FOR ATTORNEYS COMPLET[NG CIVIL COVER SHEET FORM JS 44

Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the int`oirnation contained herein neither replaces nor supplements the filings and service of`pleading or other papers as required
by law, except as provided by local rules ot`coun. This form, approved by the Judicial Conf`erencc of the Unitcd States iri September 1974, is required for the use
of the Clcrk ofCourt for the purpose ot`initiating the civil docket sheet Consequently, a civil cover sheet is submitted to the Clerk of`Coun for each civil complaint
tiled. lhe attorney filing a case should complete the form as f`o|lows:

l. (a) PIaintiffs-Defendants. Enter names (last, first, middle initial) ot` plaintiff and det`endant. lf`thc plaintif`t`or defendant is a govemmcnt agency, use only
the full name or standard abbreviations. lf`thc plaintif`f`or defendant is an official within a government agency, identify first the agency and then the official, giving
both name and title.

(b) County of Rcsldence. For each civil case tiled, except U.S. plaintiff`cascs, enter the name ofthe county where the first listed plaintift`rcsldes at the time
ot`filing. ln U.S. plaintiff cases, enter the name ofthe county in which the first listed defendant resides at the time of`filing. (NOTE: ln land condemnation cases,
the county ot` residence ol`the "det`endant" is the location ofthe tract of land involved.)

(C) Attorneys. Entcr the firm namc, address, telephone number, and attorney of`record. lf` there arc several attorneys, list them on an attachment, noting
in this section "(sce attachment)".

ll. Jurisdietion. 'l`he basis ofjurisdiction is set forth under Rule S(a), l~`.R.C.P., which requires thatjurisdict`ions be sho\im in pleadings Placc an "X" in one
ofthe boxes. lf`there is more than one basis of`jurisdiction, precedence is given in the order shown bclow.

Unitcd States plaintit`f`. (l) Jurisdiction based on 28 U.S.C, 1345 and 1348. Suits by agencies and officers ofthe Unitcd States are included hcre.
Unitcd States det`endant. (2) When the plaintiff is suing the Unitcd States, its officers or agencies, place an "X" in this box.

Fedcra| question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution ot` the Unitcd Statcs, an amendment to the
Constitution, an act ofCongress or a treaty ot`the Unitcd States, ln cases where the U.S. is a party, the U.S. plaintif`f`or defendant code takes precedencc, and box
1 or 2 should be markcd.

Diversity of citizenship (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of`difl"erent states. When Box 4 is checked, the citizenship of the
different parties must be ehecked. (See Section lll belo\v; federal question actions take precedence over diversity cases.)

lll. Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed ifdiversity ot`citizenship was indicated above. Mark this section
f`or each principal party.

lV. Nature of Suit, Plaee an "X" in the appropriate box. ll` the nature ol`suit cannot be detennined, be sure the cause of`action, in Section Vl below, is sufficient
to enable the deputy clerk or the statistical clerks in the Administrative Ol`fice to determine the nature ofsuit. lf` the cause fits more than one nature ofsuit, select
the most definitive

V. Origin. P|acc an "X" in one ol`the seven boxcs.

Original Proceedings. (l) Coscs which originate in the Unitcd States district courts.

Rcmoved from State Coutt. (2) Proeeedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petition
f`or removal is grantcd, check this box.

Remanded from Appellate Couit. (3) Check this box f`or cases remanded to the district court for further action. Use thc date of` remand as the filing datc.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.

Transferred from Anothcr District. (5) For cases transferred under Title 28 U.S.C. Scetion l404(a). Do not use this for within district transfers or multidistrict
litigation transfers

Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of'l`itle 28 U.S.C. Section 1407. When this box
is checked, do not check (5) above.

/\ppea| to District ludge from Magistrate ludgment. (7) Check this box for an appeal from a magistratejudge's deeision.

VI. Cause of`Action. Report the civil statute directly related to the cause ofaction and give a bricfdescription ofthe cause. Do not cite jurisdictional statutes
unless diversity. Example: U.S. Civil Statute: 47 USC 553
Brief`Description: Unauthorizcd reception ofcable service

Vll. Requested in Complaint. Class Action. Place an "X" in this box if`you are filing a class action under Ru|e 23, F.R.CV.P.

 

Demand. ln this space enter the dollar amount (in thousands of`dollars) being demanded or indicate other demand such as a preliminary injunction.
lury Dcmand. Check the appropriate box to indicate whether or not a_iury is being deman ded.

VIll. Related Cases. This section ofthe JS 44 is used to reference related pending cases if any. lfthere are related pending cases, insert the docket numbers
and the correspondingjudge names f`or such cases.
Date and Attorney Signature. Date and sign the civil cover sheet.

Case 2:1O-CV-09198-.]VS-.]DE Document 1-1 Filed 10/26/ /PY§SQ£;@@\Y<|@#ZC;:

§ JS 44 (Rev. 12/07) (CAND R¢v 1/10)

CIV.[L COVER SHEET

Thc JS 44 civil cover sheet and rhc information contained herein neither replace nor supplement the filing and service ofplcadings or other papers as required by law, except as provided
by local rules ot` court. This ibm approved by the Judicial Confercr\cc ofthe Unitcd Staus in Scptcmbcr 1974l is required for the usc of thc Clerk of Court for the purpose ofinitiating

lhc civil docketsth (SEE lNSTRUCTlONS ON PAGETWO OF THE FORM.)

ibm PL€R§§§FSKIM BRUCE aowLETT d
, a
MURIELS sPooNr’t-R on behalf of themselves

and all others similarly situated

(b) Counry of Rcsidcncc of First Listcd Plaintiff
(EXCEPT iN U.S. PLAiNTiFF CASES)

(C) Attomcy `s(Firm Namc, Addrt:ss, and Telcphone Numbcr)
Charles N. Freibe§g, KASOWITZ, BENSON, TORR.ES
& FRIEDMAN LLP, Cal;i.fornia St:reet, Suit)ee

§300, San Frar_tcisco 94111
arvey R. evine, LEVINE & MILLER, 550 West

C. St;reet, Suite 1810, San Diego, CA 92101-
8596

DEFENDANTS

NOT E:

Attorncys (If` Known)

Palo Alto,

 

County of Residcncc of First Listed Dcf`endant
(1N U.S. PLA 1NTH-`F CASES ONLY)

lN LAND CONDEM'NATlON CASES, USE THE LOCATlON OF THE

LAND lNVOLVED.

CA 94304

LIFE INSURANCB COMPANY OF THE SOUTHWEST, a
Texas eorporation, and DOES

1-50

Jonathan A. Shapiro, WILMER CUTLER PICKERING
1-1.ALE AND DORR LLP, 950 Page Mill Road,
(650-858-6101)

 

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(For Divcrsity Cascs Only)

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